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FILED

UNITED STATES DISTRICT
DENVER, COLORADO

IN THE UNITED STATES DISTRICT COURT OCT 22 2012
DISTRICT OF COLORADO JEFFREY COLWELL

CLERK
GREGORY L. MAKOWSKI,

Plaintiff

 

VS. CASE NO. 12-cv-02258-CMA-MEH

LTD FINANCIAL SERVICES, LP.,
Defendant.

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NOTICE OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT COURT:
Pursuant to Fed. R. Civ. P. 41 Plaintiff hereby stipulates to and gives notice

of the dismissal with prejudice of the above-entitled and numbered action.

 

Respectfully submitted,

v
GREGORY L, OWSKI
PLAINTIFF

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Fax: 303-335-2714 Pages: 2
Phones Date: 10/22/2012

 

Re: CASE NO. 12-cv-02258-CMA-MEH cc:

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